                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                        Plaintiff,               )
                                                 )
                v.                               )       No. 07-00115-07-CR-W-NKL
                                                 )
CRUZ SANTA-ANNA,                                 )
                                                 )
                        Defendant.               )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule

72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts 1 and 9 of the Indictment and

agrees to forfeit to the United States the property listed in the forfeiture allegation in the indictment,

including, but not limited to, the $71,895.00 seized on or about July 5, 2006, and the real estate

located at 412 Chelsea Avenue, Kansas City, Missouri. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Fed.R.Crim.P. 11, I determined that

the guilty pleas are knowledgeable and voluntary and that the offenses charged are supported by an

independent basis in fact containing each of the essential elements of such offenses. A record was made

of the proceedings and a transcript is available. I therefore recommend that the pleas of guilty be

accepted and that the Defendant be adjudged guilty and have sentence imposed accordingly.

        Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                          s/ SARAH W. HAYS
                                                         SARAH W. HAYS
                                                         United States Magistrate Judge
Dated: December 6, 2007




       Case 4:07-cr-00115-DGK             Document 177          Filed 12/06/07       Page 1 of 1
